         Case 1:04-cv-03521-RDB Document 253 Filed 09/27/16 Page 1 of 11



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

                                                 *
Classen Immunotherapies, Inc.,
                                                 *
        Plaintiff,
                                                 *               Civ. No.: RDB-04-3521
v.
                                                 *
Elan Pharmaceuticals, Inc.,
                                                 *
        Defendants.
                                                 *

*       *       *       *       *        *       *       *       *        *       *       *       *      *


                                    MEMORANDUM OPINION

        This case is again before this court on remand from the United States Court of

Appeals for the Federal Circuit. (ECF No. 231.)1 Currently pending is defendant Elan

Pharmaceuticals, Inc.’s (“Elan” or “Defendant”) Motion for Summary Judgment of Non-

Infringement (“Elan’s Motion”) (ECF No. 249). Plaintiff Classen Immunotherapies, Inc.

(“Classen” or “Plaintiff”) has filed an Opposition to Elan’s Motion (“Classen’s Opposition”)

(ECF No. 250), and Elan has filed a Reply to Classen’s Opposition (“Elan’s Reply”) (ECF

No. 251). The Court conducted a hearing on the parties’ submissions on September 22,

2016. (ECF No. 252.) For the reasons set forth below, Elan’s Motion is GRANTED.




1 This case was transferred to the undersigned on January 22, 2016 following Judge Quarles’ retirement from
the bench.

                                                     1
           Case 1:04-cv-03521-RDB Document 253 Filed 09/27/16 Page 2 of 11



                       FACTUAL AND PROCEDURAL BACKGROUND

          The pertinent factual and procedural history of this case was set forth by the Federal

Circuit in its decision remanding this case to this Court. Classen Immunotherapies, Inc. v. Elan

Pharm., Inc., 786 F.3d 892, 894–95 (Fed. Cir. 2015).

                  “Classen owns the ‘472 patent, which is directed to a method for
          accessing and analyzing data on a commercially available drug to identify a
          new use of that drug, and then commercializing that new use. Classen sued
          Elan in 2004, alleging that Elan infringed the ‘472 patent when it studied the
          effect of food on the bioavailability of Skelaxin, used the clinical data to
          identify a new use of the drug, and commercialized the new use. Classen, 466
          F.Supp.2d at 624. Elan moved for summary judgment of noninfringement.
          The district court granted the motion in 2006, finding Elan protected by the
          safe harbor provision of § 271(e)(1)2 because Elan submitted its clinical data to
          the FDA with its citizen petition and sNDA, and thus its activities were
          “reasonably related to the submission of information” under the Federal
          Food, Drug, and Cosmetic Act (“FDCA”). Id. at 625.

                  “The lawsuit was then stayed pending an ex parte reexamination of the
          ‘472 patent, during which the PTO cancelled 107 of the 137 originally issued
          claims. Of the remaining claims, only claims 36, 42, 48–50, 59, 73–76, 84, 131,
          and 135 were asserted against Elan. Prior to issuing the reexamination
          certificate, the PTO Examiner stated, as reasons for patentability, that the
          “prior art of record fails to teach or fairly suggest the limitation of ‘a
          manufacturer or distributor of the product must inform consumers, users or
          individuals responsible for the user, physicians or prescribers about at least
          one new adverse event associated with exposure to or use of the product.’”

          …

                   “After the reexamination certificate issued in 2010, Classen filed a
          motion in the district court seeking to lift the stay and to vacate the 2006
          summary judgment. Classen argued that our decision in Classen Immunotherapies,
          Inc. v. Biogen IDEC, 659 F.3d 1057 (Fed. Cir. 2011) warranted reconsideration
          of the summary judgment because we held in Biogen that certain post-approval
          routine submissions to the FDA are outside the safe harbor of § 271(e)(1). In
          response, the district court lifted the stay but denied reconsideration of its
          2006 decision. The court concluded that Elan was protected by the safe
          harbor under both Biogen and our subsequent decision in Momenta

2   35 U.S.C. § 271(e)(1). Footnote added.

                                                 2
        Case 1:04-cv-03521-RDB Document 253 Filed 09/27/16 Page 3 of 11



       Pharmaceuticals, Inc. v. Amphastar Pharmaceuticals, Inc., 686 F.3d 1348 (Fed. Cir.
       2012). The court reasoned that unlike Biogen, where the post-approval
       submissions were routine, Elan’s submissions to the FDA were “not routine”
       because they were necessary to update the Skelaxin product label and to
       change the FDA-approval process for generic versions of Skelaxin. Classen,
       981 F.Supp.2d at 421–22.

              “On the parties’ joint motion, the district court entered final judgment
       of noninfringement under Rule 54(b) of the Federal Rules of Civil Procedure.”

Classen, 786 F.3d at 895–96.

       On May 13, 2015, the Federal Circuit vacated and remanded Judge Quarles’ 2012

judgment of non-infringement in favor of Elan. (ECF No. 232.) In its opinion remanding

this case to this Court, the Federal Circuit concluded that “the district court correctly

decided that § 271(e)(1) exempts Elan’s activities reasonably relating to developing clinical

data on its approved drug Skelaxin® (“Skelaxin”) and submitting that information to the

Food and Drug Administration (“FDA”) in a citizen petition and a supplemental new drug

application (“sNDA”).” Classen, 786 F.3d at 894. However, the court also found that

because Judge Quarles’ opinion did not address Plaintiff’s “assert[ion] that certain activities

that occurred after the FDA submissions infringed the ‘472 patent and that those activities

are not exempt under the safe harbor of § 271(e)(1),” remand was appropriate.               Id.

Accordingly, the sole question now before this court is whether Elan’s “post-submission

activities constituted infringement of the ‘472 patent or whether they were exempt under the

safe harbor.” Id. at 898-99.

       This case was transferred to the undersigned on January 22, 2016 following Judge

Quarles’ retirement from the bench. A new Scheduling Order (ECF No. 248) was issued,

and, consistent with that Order, Elan filed its now-pending Motion on March 31, 2016.


                                               3
        Case 1:04-cv-03521-RDB Document 253 Filed 09/27/16 Page 4 of 11



(ECF No. 249.) The Court conducted a hearing on September 22, 2016, and the matter is

fully ripe for the Court’s resolution. (ECF No. 252.)



                                 STANDARD OF REVIEW

       Rule 56 of the Federal Rules of Civil Procedure provides that a court “shall grant

summary judgment if the movant shows that there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). A

material fact is one that “might affect the outcome of the suit under the governing law.”

Libertarian Party of Va. v. Judd, 718 F.3d 308, 313 (4th Cir. 2013) (quoting Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986). Thus, summary judgment is proper “only when no

‘reasonable jury could return a verdict for the nonmoving party.’” Monon Corp. v. Stoughton

Trailers, Inc., 239 F.3d 1253, 1257 (Fed. Cir. 2001) (quoting Anderson, 477 U.S. at 255)). When

considering a motion for summary judgment, a judge’s function is limited to determining

whether sufficient evidence exists on a claimed factual dispute to warrant submission of the

matter to a jury for resolution at trial. Anderson, 477 U.S. at 249.

       In undertaking this inquiry, this Court must consider the facts and all reasonable

inferences in the light most favorable to the nonmoving party. Libertarian Party of Va., 718

F.3d at 312; see also Scott v. Harris, 550 U.S. 372, 378 (2007). However, this Court must also

abide by its affirmative obligation to prevent factually unsupported claims and defenses from

going to trial. Drewitt v. Pratt, 999 F.2d 774, 778-79 (4th Cir. 1993). If the evidence

presented by the nonmoving party is merely colorable, or is not significantly probative,

summary judgment must be granted. Anderson, 477 U.S. at 249-50. On the other hand, a


                                                4
        Case 1:04-cv-03521-RDB Document 253 Filed 09/27/16 Page 5 of 11



party opposing summary judgment must “do more than simply show that there is some

metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

475 U.S. 574, 586 (1986); see also In re Apex Express Corp., 190 F.3d 624, 633 (4th Cir. 1999).

As this Court has previously explained, a “party cannot create a genuine dispute of material

fact through mere speculation or compilation of inferences.” Shin v. Shalala, 166 F. Supp. 2d

373, 375 (D. Md. 2001) (citations omitted).



                                        DISCUSSION

       I.      No Additional Discovery Is Required

       At oral argument, the parties conceded that no additional factual discovery is required

in order for the Court to rule on Elan’s Motion. Specifically, counsel for Plaintiff indicated

that now is the time to apply the law to the facts of this case. Counsel for Defendant agreed

that no further discovery was needed and that the court could rule on the pending motion

for summary judgment.

       Although Classen argues that “the complex facts in this matter are not fully

presentable to the Court in a comprehensive and understandable manner” and that “[t]he

fact that the issues were remanded to the trial court clearly indicates that they are not ripe for

summary determination but require a full, fair and comprehensive factual hearing, i.e., a trial

on the merits” these arguments do not indicate what purpose additional discovery would

serve. (ECF No. 250 at 7-8)(emphasis in original.)




                                                5
           Case 1:04-cv-03521-RDB Document 253 Filed 09/27/16 Page 6 of 11



          II.     The Federal Circuit’s Guidance

          In its decision remanding this case to this Court, the Federal Circuit offered the

following guidance with respect to Plaintiff’s claims:

                 “To assist the district court in its analysis of infringement, if the court
          reaches that issue on remand, we make the following observations of the
          record. Filing a patent application is generally not an infringement of a
          patent. It is not the making, using, offering to sell, selling, or importing
          of an invention. It is the act of approaching an agency of the government in
          order to obtain a limited privilege and to fulfill a public goal of making
          knowledge of an invention available to the public. It is not commercializing an
          invention, which requires introducing an invention into commerce, or making
          preparations to do so. Moreover, infringing a multi-step method claim requires
          carrying out all the steps of the claim. As filing a patent application is not
          commercializing an invention, a method claim requiring commercialization, as
          claim 36 does, is likely not infringed by Elan’s actions here.

                 “In addition, placing the information submitted to the FDA on the
          product label after sNDA approval generally cannot be an infringement.
          Information obtained from exempt activities does not cease to be
          exempt once the sNDA is approved. It is a requirement of law that a drug
          product contains the labeling approved by the FDA. This is not to say that a
          pharmaceutical patent claiming a method of treatment, a method of
          preparation, or a composition of matter cannot be infringed by the subsequent
          actions of making, using, offering to sell, selling, or importing of a drug
          covered by that patent based on information derived from exempt activities.
          But that is not the case here.”

Classen, 786 F.3d at 898–99 (emphasis added).

          While Plaintiff interprets the Federal Circuit’s use of the term “generally” to indicate

that exceptions may apply to these general rules, this argument—unsupported by

authority—is unpersuasive. (ECF No. 250 at 8.) Moreover, when this issue was raised

during the hearing, counsel for Plaintiff was unable to indicate why the Federal Circuit’s

guidance should not govern this Court’s analysis.3 Accordingly, this Court is bound to


3   Unsurprisingly, Elan expressly relies upon the Federal Circuit’s guidance in support of its Motion. (ECF

                                                      6
         Case 1:04-cv-03521-RDB Document 253 Filed 09/27/16 Page 7 of 11



follow the Federal Circuit’s statement of the applicable law in its analysis of the pending

Motion.



        III.     Plaintiff’s Claims Fail as a Matter of Law

        Elan argues that summary judgment is appropriate because its allegedly infringing

activities are protected by 35 U.S.C. § 271(e)(1)’s safe harbor provision.4 In addition, as set

forth in its Reply and at the hearing held on its Motion, Elan argues that summary judgment

is warranted because Classen “has failed to provide any evidence supporting” its allegations

of infringement. (ECF No. 251 at 5, 8.)

        In its Opposition, Classen argues that Elan’s post-submission activities—that is,

submission of clinical data to the FDA—are aimed at commercialization and thus, in

Classen’s view, fall outside of the safe harbor of § 271(e)(1). (ECF No. 250 at 2-4, 14-17.)

The allegedly infringing activities are: (1) “reanalyzing the clinical data to identify patentable

information and filing patent applications;” and (2) “making and selling Skelaxin with the

revised label that contained the information derived from the clinical study.” Classen, 786

F.3d at 897-98.

        Following the Federal Circuit’s guidance, it is clear that Elan’s alleged “reanalyzing

the clinical data to identify patentable information and filing patent applications,” and

No. 249-1 at 13, 15.)

4 “This provision shields drug manufacturers from patent infringement liability for using patented inventions
in activities that are ‘reasonably related to the development and submission of’ information pursuant to the
federal regulatory process of pharmaceuticals.” Classen Immunotherapies, Inc. v. Shionogi, Inc., 993 F. Supp. 2d
569, 576 (D. Md.), aff'd, 586 F. App’x 585 (Fed. Cir. 2014) (quoting Merck KGaA v. Integra Lifesciences I, Ltd.,
545 U.S. 193, 195 (2005)). “Congress enacted this provision of the Hatch–Waxman Act in 1984 to ‘balance
the need to stimulate innovation against the goal of furthering the public interest.’” Id. (internal citation
omitted). See also H.R. Rep. 98–857, pt. 2, at 2714 (1984), 1984 U.S.C.C.A.N. 2686, 2714).

                                                       7
            Case 1:04-cv-03521-RDB Document 253 Filed 09/27/16 Page 8 of 11



“making and selling Skelaxin with the revised label that contained the information derived

from the clinical study” fall squarely within the safe harbor of § 271(e)(1). This conclusion is

also consistent with the decision of this Court in Classen Immunotherapies, Inc. v. Shionogi, Inc.,

993 F. Supp. 2d 569, 578 (D. Md.), aff’d, 586 F. App’x 585 (Fed. Cir. 2014). In Shionogi,

Judge Titus of this Court rejected Classen’s nearly identical argument to that raised here,

stating:

                  “Classen’s attempts to avoid the safe harbor run aground under
           Momenta. Classen argues that its patent infringement allegations are
           not barred by § 271(e)(1) because its patents include claims that are
           “commercialization steps which are not used to develop or submit
           information to the FDA.” Classen admits that “[c]linical trials generate
           information, such as the proper manufacturing method or the proper dosage
           requirements or methods of treatment,” and that “[t]his information is
           submitted to the FDA,” and “thus the generation and use of this information
           during the clinical trials ... is protected.” Nevertheless, Classen asserts that
           “[t]he subsequent generation and/or use of this same information during
           commercial sales is not protected.” Classen’s argument rests on its theory that
           “the safe harbor expires after FDA approval is obtained. If it did not, no
           pharmaceutical patents would ever be enforceable.” Classen relies on Classen
           Immunotherapies, Inc. v. Biogen IDEC, 659 F.3d 1057 (Fed. Cir. 2011), for the
           proposition that the safe harbor “‘does not apply to information that may be
           routinely reported to the FDA, long after marketing approval has been
           obtained.’” However, the later decision in Momenta5 clarified that there
           is no pre/post FDA approval dichotomy under the safe harbor
           provision. To the extent that there is any tension between Biogen and
           Momenta, Momenta controls, as it is the more recent Federal Circuit
           decision. Thus, § 271(e)(1) precludes Classen’s infringement claims
           from proceeding.”

Shionogi, 993 F. Supp. 2d at 578 (internal citations omitted) (emphasis added). Notably,

Shionogi involved the same Plaintiff alleging a nearly identical legal theory.6 And there, the


5   Momenta Pharm., Inc. v. Amphastar Pharm., Inc., 686 F.3d 1348 (Fed. Cir. 2012).

6 Indeed, the Shionogi court cites Judge Quarles’ 2006 summary judgment opinion in this case in analyzing the
applicability of the § 271(e)(1) safe harbor to Classen’s allegations that Shionogi infringed its now-cancelled
‘639 Patent by taking “commercialization steps which are not used to develop or submit information to the

                                                          8
         Case 1:04-cv-03521-RDB Document 253 Filed 09/27/16 Page 9 of 11



Court dismissed Classen’s complaint for failing to state a legally plausible claim. So, too,

does this Court conclude that Classen’s claims fail as a matter of law.

        This Court’s conclusion that Elan’s post-submission activities fit within the scope of

§ 271(e)(1)’s safe harbor is further supported by Telectronics Pacing Sys. v. Ventritex, Inc., 982

F.2d 1520, 1523–24 (Fed. Cir. 1992). As the Federal Circuit explained, Telectronics stands for

the proposition that “the subsequent disclosure or use of information obtained from an

exempt clinical study, even for purposes other than regulatory approval, does not repeal that

exemption of the clinical study, provided that the subsequent disclosure or use is itself not

an act of infringement of the asserted claims.” Classen, 786 F.3d at 898 (emphasis in original)

(citing Telectronics, 982 F.2d. at 1523-24). On this basis, the defendant in Telectronics remained

within the safe harbor when it “present[ed] clinical trial data at a cardiology conference,

report[ed] clinical trial progress to investors, analysts and journalists, and describe[ed] clinical

trial results in a private fund-raising memorandum.”                        Id.     The alleged acts of

commercialization by Elan—the filing of patent applications based on the reanalyzed clinical

data and the sale of Skelaxin with the revised label containing information derived from the

clinical trial—appear, contrary to Classen’s argument, far less “commercial” in nature than

those activities deemed protected in Telectronics. Accordingly, these activities remain within

the scope of § 271(e)(1)’s safe harbor, and Elan is entitled to summary judgment.




FDA.” Classen Immunotherapies, Inc. v. Shionogi, Inc., 993 F. Supp. 2d 569, 577-78 (D. Md.), aff'd, 586 F. App’x
585 (Fed. Cir. 2014) (citing Classen Immunotherapies, Inc. v. King Pharm., Inc., 466 F.Supp.2d 621, 623
(D.Md.2006)).

                                                       9
       Case 1:04-cv-03521-RDB Document 253 Filed 09/27/16 Page 10 of 11



       IV.    Plaintiff Fails to Raise a Genuine Issue of Material Fact

       Even if Classen’s claims were not barred as a matter of law, Classen still fails to raise

a genuine issue of material fact sufficient to preclude summary judgment. To be sure, while

the burden remains on the movant to show that there is no genuine dispute of material fact

and that it is entitled to judgment as a matter of law, the party opposing summary judgment

must “make a showing sufficient to establish the existence of an element essential to that

party’s case, and on which that party will bear the burden of proof at trial.” Celotex Corp. v.

Catrett, 477 U.S. 317, 322 (1986).

       Here, with discovery long complete and this case having worn on for nearly twelve

years, Classen has produced no evidence of Elan’s alleged reanalysis of the data for

commercial purposes so as to raise a genuine issue of material fact regarding Elan’s

infringement. Attached to Classen’s Opposition brief are copies of Classen’s and Elan’s

patents at issue in this case (ECF Nos. 250-1, 250-5), materials related to Dr. Classen’s

November 2001 presentation (ECF No. 250-2), Elan’s 2001 Clinical Study Report (ECF No.

250-6), Elan’s 2001 Citizen’s Petition to the FDA (ECF No. 250-7), and portions of the

deposition transcripts of Nancy Santilli (ECF No. 250-3) and Steve Cartt (ECF No. 250-4).

While the deposition excerpts may support the inference that Ms. Santilli, Mr. Cartt, and

other Elan employees attended Dr. Classen’s presentation, met with Dr. Classen, and even

explored the possibility of entering into a business relationship with him, these materials say

nothing of Elan’s alleged reanalysis of clinical study data and commercialization of that data.

See ECF Nos. 250-3, 250-4. Thus, even if Classen’s allegations were not barred as a matter

of law on account of § 271(e)(1)’s safe harbor, Classen has failed to show that there exists a


                                              10
        Case 1:04-cv-03521-RDB Document 253 Filed 09/27/16 Page 11 of 11



genuine issue of material fact with respect to a key element of its allegations.7 Summary

judgment is therefore appropriate.



                                           CONCLUSION

        For the foregoing reasons, this 27th day of September, 2016, Elan Pharmaceuticals,

Inc.’s Motion for Summary Judgment as to Non-Infringement (ECF No. 249) is

GRANTED.

        A separate Order follows.



                                                                  __/s/_____________________
                                                                  Richard D. Bennett
                                                                  United States District Judge




7 There does not appear to be any dispute as to whether Elan sold Skelaxin with the updated label derived
from the clinical study test results. However, as set forth above, “placing the information submitted to the
FDA on the product label after sNDA approval generally cannot be an infringement. Information obtained
from exempt activities does not cease to be exempt once the sNDA is approved.” Classen, 786 F.3d at 898–
99.

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